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5    Attorney for George B. Larsen
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8                            UNITED STATES DISTRICT COURT
9                           EASTERN DISTRICT OF CALIFORNIA
10

11   United States of America,              No.   2:15-CR-190 GEB
12                    Plaintiff,            STIPULATION AND [PROPOSED] ORDER
                                            RESETTING SENTENCING DATE
13          v.
14   George B. Larsen,
15                    Defendant.
16

17         IT IS HEREBY STIPULATED by and between the parties hereto
18   though their respective counsel, Audrey Hemesath, Assistant
19   United States Attorney, and Dustin D. Johnson, Counsel for GEORGE
20   B. LARSEN, that:
21      1. By previous order, this matter was set for sentencing on
22         August 3 2018.
23      2. By stipulation, the parties now move to continue sentencing
24         to August 17 2018.
25      3. The Defense needs additional time to prepare for sentencing
26         by, inter alia, preparing formal objections and sentencing
27         memorandum.
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1      4. The prosecutor has no objection.

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3    IT IS SO STIPULATED.

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5          The prosecutor has authorized defense counsel to sign this

6    stipulation on her behalf.

7          Defense counsel attempted to contact the probation officer

8    regarding the proposed change on Friday, July 27, 2018 but was

9    unable to. On Monday, July 30, 2018, defense counsel contacted

10   the probation office and was informed the probation officer is

11   out of the office through at least this week as is her

12   supervisor. Because of the time sensitive nature of this request,

13   defense counsel is submitting this request with the understanding

14   that, if the date is not good for the probation officer, the date

15   will be adjusted. Defense counsel has reviewed this plan with the

16   prosecutor.

17

18   The following briefing schedule is based on the new Judgement and

19   Sentencing Date of August 17, 2018:

20     •   Reply, or Statement of Non-Opposition: AUGUST 10, 2018
21     •   Motion for Correction of the Presentence Report shall be

22         filed with the Court and served on the Probation Officer and

23         opposing counsel no later than: AUGUST 3, 2018

24

25         The FINAL Presentence Report was disclosed to counsel on

26   JULY 11, 2018.
27   ///

28   ///
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2    Dated: July 30, 2018        Respectfully Submitted,

3                                By: /s/ Dustin Johnson
                                 DUSTIN D. JOHNSON
4                                Attorney for Defendant
                                 George B. Larsen
5
     Dated: July 30, 2018        McGregor W. Scott
6                                United States Attorney
7
                               By: /s/Audrey Hemesath(approved via email)
8                                AUDREY B. HEMESATH
                                 Assistant U.S. Attorney
9

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11                          ORDER
12   It is so ordered.
13   Dated:   August 1, 2018
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